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LETTER OF REQUEST

COMMISSION ROGATOIRE

 

Hague Convention of 18 March 1970 on the
Taking of Evidence Abroad in Civil or Commercial Matters
Convention de La Haye du 18 mars 1970 sur
l'obtention des preuves a /'étranger en matiére civile ou commerciale

 

1. Sender Robert A. Delafield lI, Nelson Bumgardner Conroy PC
Expéaiteur 3131 West 7th St, Suite 300, Fort Worth, TX 76107 USA
(With the permission of the Requesting Authority)

 

2. Central Authority of the Ministry of Justice of China, International Legal Cooperation Center

Requested State 33, Pinganli Xidajie, Xicheng District, Beijing 100035, China
Autorité centrale de I'Etat requis

 

3. Person to whom the executed
request is to be returned Clerk ipl
Personne a qui les piéces constatant | US District Court for the Western District of Texas

"exécution de la demande doivent étre | 890 Franklin Ave., Rm. 380, Waco, TX 76701 USA

renvoyées
4. Specification of the date by which the requesting authority requires receipt of the
response to the Letter of Request

Indiquer la date limite a laquelle 'autorité requérante désire recevoir la reponse a la commission

 

 

 

 

rogatoire

Date

Date limite May 13, 2022.

Reason for urgency* Salis .

Raison de I'urgence The trial is scheduled to begin on June 13,
2022.

 

 

 

 

 

In conformity with Article 3 of the Convention, the undersigned applicant has the honour to submit
the following request:
En conformiteé de l'article 3 de la Convention, le requérant soussigné a honneur de présenter la demande

 

 

 

suivante :
5.a | Requesting authority . Lo,

(Art. 3(a)) United States District Court for the Western
Mutants yequerants District of Texas
(art. 3(a))

b | To the Competent Authority of : . :
(Art. 3(a)) The People's Republic of China
Al'Autorité compétente de
(art. 3(a))

c | Names of the case and any ea it . .
identifying number Unification Technologies LLC v. Micron
Nom de laffaire et numéro Technology, Inc., et al., Civ. A. No. 6:20-CV-500
didentification de laffaire

 

 

 

 

 

 

6. Names and addresses of the parties and their representatives (including representatives in
the Requested State“) (Art. 3(b))
Identité et adresse des parties et de leurs représentants (y compris représentants dans I'Etat requis) (art. 3(b))

a | Plaintiff . . .
Demandeur Unification Technologies LLC

 

 

Representatives
Représentants See Attachment A

 

b | Defendant : P ‘
Défendeur Micron Technology, Inc., Micron Semiconductor

Products, Inc., and Micron Technology Texas LLC

 

 

 

 

 

 

 

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Representatives
Représentants

See Attachment A

 

Other parties
Autres parties

Not Applicable

 

Representatives
Représentants

Not Applicable

 

 

Nature of the proceedings
(divorce, paternity, breach of
contract, product liability, etc.)
(Art. 3(c))

Nature et objet de instance (divorce,
filiation, rupture de contrat,
responsabilité du fait des produits,

ate.) (art, 3(c))

Civil action seeking damages for patent
infringement.

 

Summary of complaint
Exposé sommaire de fa demande

See Attachment B

 

Summary of defence and
counterclaim*
Exposé sommaire de la défense ou

|_ demande reconventionnelie

See Attachment B

 

Other necessary information or
documents*

Autres renseignements ou documents
Utiles

A copy of the complaint and the answer are
attached to this request.

 

 

&a

Evidence to be obtained or
other judicial act to be
performed (Art. 3(d))

Actes dinstruction ou autres actes
judiciaires a accomplir (art, 3(d))

The Requesting Authority requests that the competent authorities
of the People’s Republic of China compel the production of
documents and compel the testimony specified on Attachment C.

 

Purpose of the evidence or
judicial act sought
But des actes 4 accomplir

The evidence sought is relevant to proof of
patent infringement.

 

 

Identity and address of any
person to be examined

(Art. 3(e))*

identité et adresse des personnes a
entendre (art, 3(e)}

Memblaze Technology Co., Ltd., Building B2,
Dongsheng Park, 66 Xixiaokou Rd., Haidan
District, Beijing 100192, China

 

 

10,

Questions to be put to the
persons to be examined or
statement of the subject matter
about which they are to be
examined (Art. 3(f))*

Questions 8 poser ou faits sur
lesquels les personnes susvisées
doivent 6tre entendues (art. 3(f)

See Attachment C

 

 

11.

 

Documents or other property to
be inspected (Art. 3(g))*
Documents ou objets 4 examiner (art.
3(9))

 

 

See Attachment C

 

 

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12.

Any requirement that the
evidence be given on oath or
affirmation and any special
form to be used (Art. 3(h))*
Demande de recevoir la déposition
sous serment ou avec affirmation et,
le cas échéant, indication de la
formute a utiliser (art, 3(h)}

The testimony should be given on oath. No
particular form is required.

 

 

13.

Special methods or procedure
to be followed (e.g., oral or in
writing, verbatim transcript or
summary, cross-examination,
etc.) (Arts 3(i) and 9)*

Formes spéciales demandées
(déposition orate ou écrite, procés-
verbal sommaire ou intégral, “cross-

examination", etc.) (art, 3(i) et 9)

See Attachment D

 

 

 

14,

Request for notification of the
time and place for the
execution of the Request and
identity and address of any
person to be notified (Art. 7)*
Demande de notification de ta date et
du lieu de l'exécution de la requéte, de
lidentité et de ladresse de fa ou des
personnes a informer (art. 7)

The Requesting Authority requests that the
representatives of the parties identified on
Attachment A be given advance notice of all
proceedings related to execution of the letter of
request by email at the addresses given on the
Attachment.

 

 

15,

Request for attendance or
participation of judicial
personnel of the requesting
authority at the execution of the
Letter of Request (Art. 8)*
Demande d'assistance ou de
participation des magistrats de
laulonté requérante & lexécution de
fa commission rogatoire (art. 8)

Not Applicable

 

 

16.

Specification of privilege or
duty to refuse to give evidence
under the law of the Requesting
State (Art. 11(b))*

Spécification des dispenses ou
interdictions de déposer prévues par
fa loi de lEtat requérant (art. 11(b))

The witness may refuse to give evidence if it has a
privilege under the law of the United States or the law
of China. Privileges under US law Include the
attomey-client privilege and, for natural persons, the
privilege against self-incrimination.

 

 

17.

 

The fees and costs incurred
which are reimbursable under
the second paragraph of Article
14 or under Article 26 of the
Convention will be borne by:*
Les taxes et frais donnant lieu 4
remboursement en vertu de larticle

| 14, alinéa 2 et de l'article 26 seront

régiés par:

The plaintiff, Unification Technologies LLC.

 

 

Date of request

Date dela requéte 1 | / 2] 20 2\

 

 

Signature and seal of the requesting

 

 

 

*Omit if not applicable / Ne vomol- qu'en cas de nécessilé

 

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